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IN THE UNITED STATES DISTRICT COURT VBY de D'c'
FOR THE WESTERN DISTRICT OF TENNESSEE ,
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OUTDOOR OPTICS, INC. d/b/a/ w mem MEMS ..
OLYMPIC OPTICAL CO. `
Plaintiff,
v. Civil Action No. 05-2185 D

Hon. Bernice Donald

DAISY MANUFACTUR]NG COMPANY, INC.

\_/\,/W\,/W\./W\_/W\_/VW

Defendant.

 

STIPULATION AND PROTECTIVE ORDER

 

IT IS HEREBY STIPULATED AND AGREED, subject to the approval of the
Court, as follows:

1. CONFIDENTIAL INFORMATION, as defined herein, disclosed -by plaintiff,
defendant, or a third party (hereinaiter "producing party") to any other party (hereinafter
"receiving party") pursuant to discovery in this action shall be used solely for purposes of this
action.

2. Each page of each document produced pursuant to discovery in this action shall bear
a unique identifying number.

3. As used herein, CONFIDENTIAL INFORMATION refers to information that a
producing party claims in good faith constitutes or discloses or relates to processes, operations,
research, technical or developmental information, or production, marketing, sales, shipment or
other proprietary data or information of commercial value, including but not limited to trade
secrets. Such information may be designated as CONF]DENTIAL. Information to be treated

under this Protective Order as CONFIDENTIAL INFORMATION shall include:

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w|th Flu|e 58 and/or 79{a) FHCP en

 

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a. Infonnaticn set forth in responses to discovery requests made under Fed. R. Civ.

P. 31, 33, or 36, or in documents produced for inspection under Fed. R. Civ. P. 33(d) or 34,

n provided that, prior to delivery to the receiving party, the responses or copies of documents are
marked by the producing party with the following legend‘.
CONF}DENTIAL

b. lnformation revealed during a deposition upon oral examination under Fed. R.
Civ. P. 30, if the producing party has (i) indicated on the record or in writing at the time the
deposition was taken or prior to the preparation of the transcript, that portions of the deposition
contain CONFIDENTIAL ]NFORMATION and (ii) has instructed the court reporter prior to
preparation of the transcript to indicate on the face page of the deposition that it contains
CONF]DENTIAL ]I\lFORMATION; or (iii) has notified opposing counsel in writing within
three (3) days after the completion of the deposition that the deposition contains
coNrn)ENTIAL INFORMATION.

4. Access to information designated as CONFIDENTIAL shall be limited to the
following persons:

a. Outside counsel of record for a receiving party and stenographic, clerical, and
legal assistant employees, and agents of those attorneys whose functions require access to
CONFIDENTIAL INFORMATION;

b. Outside experts or consultants for a receiving party whose advice and
consultation are being cr will be used by such party solely in connection with this action,
including their stenographic and clerical personnei; provided that disclosure to such experts or

consultants and their stenographic and clerical personnel shall be made only on the following

conditions:

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(i) Counsel desiring to disclose CONF[DENTIAL INFORMATION to
such experts or consultants shall first obtain a signed Agreement to Abide by Stipulation and
Protecrive Order in the form of Exhibit A attached hereto from each such expert or consultant
who would require access to CONFIDENTIAL INl-"`ORMATION, and counsel shall retain in his
file the original of each such signed Agreement to Abide by Stipularion and Protective Order.

(ii) No CONF[DENTIAL INFORMATION shall be disclosed to such
expert or consultant until after the expiration of a five (5) day period commencing with the
service by facsimile upon counsel for the producing party from the expert or consultant of a copy
of the signed Agreement to Abz'de by Stzpulation and Protectz`ve Order and curriculum vitae of
the expert or consultant During the five (5) day period after such service, counsel for the
producing party may object in good faith to such disclosure In the event of any such objection,
there shall be no disclosure of CONF]DENTIAL INFORMATION to such expert or consultant,
except by further order of the Court or by agreement of the parties. lf the parties are unable to
reach any agreement over the disclosure of CONFIDENTIAL INFORMATION to the expert or
consultant, the objecting party shall request by motion that the Court issue an order precluding
the disclosure of CONFIDENTIAL INFORMATION to the expert or consultant In the event of
the filing of any such motion, there shall be no disclosure of CONFIDENTIAL INFORMATION
to the expert or consultant, pending resolution of the motion by the Court; and

c. the Court and its authorized staff, court reporters, and the jury;

d. outside copying and exhibit preparation services

e. Any additional persons agreed to in Writing by the producing party with respect
to any or all of the Confidential Material, it being understood that the receiving party reserves the
right to present to the Court (after informal efforts to resolve such dispute have failed) a request

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to allow, on a showing of necessity, additional persons to view any or all of the Coniidential
Material.

5. CONFIDENTIAL [NFORMATION shall not be made public by the receiving party,
shall be used only by persons permitted access to it under Paragraph 4 and shall be disclosed
only to persons specified in Paragraph 4.

6. If CONFIDENTIAL INFORMATION is to be filed with the Court in connection
with any proceedings herein, it shall be filed in a sealed envelope marked with the caption of the ‘
case and the following legend, or shall otherwise be filed under seal in accordance with the Local
Rules or practices of the court in which the information is iiled:

“Contains CONF]DENTIAL INFORMATION

To Be Opened Only By Or As Directed By The Court

Olympic Opti'cal Co. v. Daisy Manufacturing Company, Inc.

Civil Action No. 05-2185 D”
In addition, any document that is to be filed with the Court and that contains CONFIDENTIAL
INFORMATION shall be marked “FILED UNDER SEAL” on its cover page.

7. The acceptance of CONFIDENTIAL INFORMATION by the parties shall not
constitute an admission or concession or permit an inference that the CONFIDENTIAL
INFORMATION is in fact confidential. Any receiving party may at any time request that the
designating party cancel the CONF]DENTIAL designation with respect to any document, object
or information Such request shall be made to counsel for the designating party, and shall
particularly identify the designated CONFIDENTIAL INFORMATION that the receiving party
contends is not confidential and the reasons supporting its contention.- If the designating party

does not agree to remove the CONFIDENTIAL designation, then the party contending that such

documents or information are not confidential may request by motion that the Court remove such

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information from the restrictions of this Order. The burden of demonstrating that the
information is confidential shall be on the designating party.

8. This Str'pulation and Pratective Order shall not prevent a party from attempting to
examine as witnesses, at depositions and at trial, persons who are not authorized to receive
CONFIDENTIAL lNFORMATION, as identified herein, so long as such examination concerns
CONFIDENTIAL INFORMATION to which the witness previously had authorized access or of
which the witness has prior knowledge, as demonstrated by foundation testimony during the
deposition or trial. This Stipulation and Protective Order shall not prevent counsel from
examining a witness to determine whether he or she has prior knowledge of CONFIDENTIAL
INFORMATION, so long as such examination shall be in a manner that does not disclose the
details of the CONFIDENTIAL INFORMATION. Confidential Information of a producing
party may be used to examine, at deposition and at trial (or other court hearing), any person who
is or has in the past been employed by or affiliated with the producing party.

9. CONFIDENTIAL INFORMATION may be used in testimony at trial, at any motion
hearing, and at depositions, and may be offered in evidence at trial or at any motion hearing, all
subject to any further Order regarding confidentiality as this Court may enter, and may be used
to prepare for and conduct discovery, to prepare for trial and to support or oppose any motion but
may not be used for any other purpose except as expressly provided herein or b'y further Order of
the Court.

10. Nothi`ng in this Order shall bar or otherwise restrict any attorney from rendering
advice to a party-client in this action and in the course thereof, relying upon such attorney's

examination of CONFIDENTIAL INFORMATION; provided, however, that in rendering such

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advice and in otherwise communicating with such client, the attorney shall not disclose any
CONFIDENTLAL INFORMATION to unauthorized persons.

ll. The disclosure by a producing party of CONFIDENTIAL INFORMATION by way
of delivering responses to discovery requests, delivering copies of documents, disclosing
deposition testimony or otherwise, without the designation required by paragraph 3, shall
constitute a waiver of any claim of confidentiality, except in the situation where (a) such
disclosure resulted from inadvertence or mistake on the part of the producing party, (b) such
inadvertent or mistaken disclosure has been brought to the attention of the receiving party
promptly after discovery of such disclosure, but not later than ten (10) days after such discovery,
and (c) within ten (10) days of such discovery, the producing party has provided properly marked
documents Upon such notice, and upon receipt of properly marked documents, the materials
shall be treated as confidential and the receiving party shall return said unmarked documents and
things to the extent practicable, and shall not retain copies thereof and shall treat information
contained in said documents and things and any summaries or notes thereof as CONFIDENTIAL
INFORMATION.

12. Should any CONFIDENTIAL INFORMATION be disclosed, through inadvertence
or otherwise, by the receiving party to any person or party not authorized under this Stz'pul'an'on
and Protectz've Order, then the receiving party shall (a) use its best efforts to obtain the return of
any such CONFIDENTIAL ]NFORMATION and to bind such person to the terms of this
Srz'palatz‘on and Protective Order; (b) within three (3) days of the discovery of such disclosure,
inform such person of all provisions of this Stz'p`ulation and Protecrz've Order; (c) within five (5)
days of the discovery of such disclosure, identify such person to the producing party; and (d)
request Such person to sign the Agreement to Abr`de by Stz'pulation and Protectz've Order in the

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form attached hereto as Exhibit A. The executed agreement shall be served upon counsel of
record for the producing party within five (5) days of its execution by the party to whom
CONFIDENTIAL INFORMATION was disclosed.

13. Nothing in this Stz'pulation and Protectr`ve Order shall require disclosure of
information which counsel contends is protected nom disclosure by the attorney»client privilege
or the attorney work-product immunity, or where such information has been designated
confidential by a third party in another litigation

14. If information subject to a claim of attorney~client privilege or work product
immunity is inadvertently or mistakenly produced, such production shall in no way prejudice or
otherwise constitute a waiver of`, or estoppel as to, any claim of privilege or work~product
immunity for such information provided that the producing party requests the return of such
inadvertently or mistakenly produced documents within thirty (30) days after their production

15. The restrictions and obligations set forth in this Sn'pulation and Protectz've Order
relating to CONF]DENTIAL INFORMATION shall not apply to any information which (a) the
parties agree, or the Court rules, is already public knowledge, (b) the parties agree, ortho Court
rules, has become public knowledge other than as a result of disclosure by the receiving party, or
(c) is in the receiving party's legitimate possession independently of the producing party, Such
restrictions and obligations shall not be deemed to prohibit discussions with any person of
CONFIDENTIAL INFORMATION if said person already has legitimate possession thereof

16. This Stz'pulation and Protective Order shall not prevent any party from applying to
the Court for relief therefrom, or from applying to the Court for further or additional protective
orders. Nothing herein shall prevent any party from disclosing or using its own Confidential

Inf`ormation in any manner that it considers appropriate

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17. This Stipulan'on and Protective Order shall survive the termination of this action,

18. After final termination of this action, the counsel designated in paragraph 4(a) hereof
for the receiving party may each retain one archival copy of deposition exhibits, Court exhibits,
documents and other materials submitted to the Court, deposition transcripts and transcripts of
court proceedings, one copy or sample of the CONFIDENTIAL INFORMATION produced by
opposing counsel for reference in the event of a dispute over the use or dissemination of j
inforrnation, and CONFIDENTIAL INFORM.ATION to the extent it includes or reflects an
attorney's work product Such material shall continue to be treated as CONFIDENTIAL
INFORMATION under this Stipulatz'on and Protective Order. Afcer final termination of this
action, counsel for the receiving party either shall return all additional CONFIDENTIAL
INFORMATION in his possession, custody or control or in the custody of any authorized agents,
outside experts and consultants retained or utilized by counsel for the receiving party to counsel
for the party who has provided such CONF[DENTIAL INFORMATION in discovery or shall
certify destruction thereof to such counsel As to CONFIDENTIAL INFORMATION reflected
in computer databases or backup tapes, the receiving party shall delete all such
CONFIDENTIAL INFORMATION or shall impose passwords or designate the information in a
manner reasonably calculated to prevent unauthorized access to the CONFIDENTlAL
INFORMATION.

19. If a third party provides discovery to any party in connection with this action, and if
the third party so elects, then the provisions of this Stz`pulatz`on and Protective Order apply to
such discovery as if such discovery were being provided by a party. Under such circumstances,
the third party shall have the same rights and obligations under this Stz'pulation and Proteczive

Order as held by the parties to this action.

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20. By entering this order and limiting the disclosure of information in this case, the

Court does not intend to preclude another court from finding that information may be relevant

and subject to disclosure in another case, Any person or party subject to this order who becomes

subject to a motion to disclose another party’s information designated “confidentia ” pursuant to

this order shall promptly notify that party of the motion so that the party may have an

opportunity to appear and be heard on whether that information should be disclosed.

Dared: rely ’? , 2005

   

lly submitted,

/ Rb/bert E. Qr;iddock, Jr.

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Dated: July _']_, 2005

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Honorable emice Donald

      

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EXI-IIBIT A

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

WES'I`ERN DIVISION
)
OUTDOOR OPTICS, INC. d/b/a/ )
OLYMPIC OPTICAL CO. )
l
Plaintiff, )
)
v. ) Civil Action No. 05-2185 D
) Hon. Bernice Donald
)
DAISY MANUFACTURING COMPANY, lNC. )
)
Defendant. )
AGREEMENT TO ABIDE BY STIPULATION
AND PROTECTIVE ORDER
I, , have read the Strpulation and Protectz've Order

 

applicable to the abovc»captioned action. I understand its terms and agree to be fully bound by
them, and hereby submit to the jurisdiction of the United States District Court for the Western
District of Tennessee, Western Division, for purposes of the enforcement of the Stipulan'on and
Protectr've Order. I understand, in particular, that any Coniidential Material, and any copies,
excerpts or summaries thereof and materials containing information derived therefrom, as well as
any knowledge or information derived from any of the aforementioned items, may be used only
for purposes of this litigation and may not be used for any other purpose, including without

limitation, any business or commercial purpose. l further understand that failure to abide fully

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by the terms of the Stipulation and Protectr've Order may result in legal action against me,

including being held in contempt of court and liability for monetary damages.

DATED: AGR.EED:
Printed Narne:

Role in this litigation:
Address:

 

Telephone Number:

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CV-02185 was distributed by fax, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

